IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Amaplat Mauritius Ltd.,
c/o CKLB International Management Ltd.,

P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius;

and

Amari Nickel Holdings Zimbabwe Ltd., Civil Action No. 1:22-cv-0058
c/o CKLB International Management Ltd.,
P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius,

Plaintiffs,

V.

Zimbabwe Mining Development Corporation,
90 Mutare Road, Msasa, Harare, Zimbabwe;

The Chief Mining Commissioner, Ministry of

Mines of Zimbabwe,
6th Floor, ZIMRE Centre, Cnr. Leopold
Takawira Street/Kwame Nkrumah Avenue,

Private Bag 7709, Causeway, Harare,
Zimbabwe;

and the Republic of Zimbabwe,

c/o Head of the Ministry of Foreign Affairs,
Ministry of Foreign Affairs, P.O. Box 4240,
Munhumutapa Building, Cnr. Samora Machel
Avenue/Sam Nujoma Street, Harare,

Zimbabwe

Defendants.

 

 

DECLARATION OF JOSEPH M. SANDERSON
IN >ORT OF MOTION FOR ADMISSION FAC f14

 

Josehp M. Sanderson, pursuant to 28 U.S.C. § 1746 declares as follows:

1. My name is Josehp M. Sanderson. I submit this Declaration pursuant to Rule 83.2(d)

of the Local Rules of the United States District Court for the District of Columbia in support of
the motion for my admission pro hac vice to this Court.

2.

I am an associate at the law firm of Steptoe & Johnson LLP, located at 1114 Avenue

of the Americas, New York, NY 10036. My business telephone number is (212) 506-3900; my

business fax number is (212) 506-3950 and my business email address is

josanderson@steptoe.com.

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I am a member in good standing of the Bar of the State of New York (Att’y Reg. No.

5585476), as well as the State of California (Bar No. 305256) am admitted to practice before:

4.

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b)
Cc)
d)
e)
f)
g)
h)
i)

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k)
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m)

The United States Court of the Appeals for the 9th Circuit

The United States Court of the Appeals for the 2nd Circuit

The United States Court of the Appeals for the 10th Circuit
The United States District Court for the Central District of California
The United States District Court for the Eastern District of California

The United States District Court for the Eastern District of New York
The United States District Court for the Eastern District of Texas

The United States District Court for the Eastern District of Wisconsin
The United States District Court for the Northern District of California
The United States District Court for the Northern District of Illinois
The United States District Court for the Southern District of California

The United States District Court for the Southern District of New York

The United States District Court for the Western District of Wisconsin

I have never been disciplined by any Court or Bar.

I have not been admitted pro hac vice to this Court in the last two years.

6. I do not engage in the practice of law from an office located in the District of
Columbia.

7. Iam familiar with the Local Rules of the United States District Court for the District of
Columbia and the Federal Rules of Civil Procedure.

8. Iam associated with Steven K. Davidson, the attomey moving for my admission pro
hac vice, who has the authority to act as attorney of record for all purposes in this action, with
whom the Court and opposing counsel may readily communicate regarding this case, and upon
whom papers shall be served.

I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Executed this 10th day of January, 2022

 

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